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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *    Case No.: 1:22-cr-00014-APM
JONATHAN WALDEN                                   *
       *       *       *       *      *       *        *      *      *       *       *


                                    ENTRY OF APPEARANCE
       The undersigned attorney, having been retained by the Defendant, Jonathan Walden, and
being duly certified to practice before the Court, respectfully requests that his appearance as the
attorney of record in the present matter be entered.




                                                                 /s/
                                                       David W. Fischer, Esq.
                                                       Federal Bar No. 023787
                                                       Law Offices of Fischer & Putzi, P.A.
                                                       Empire Towers, Suite 300
                                                       7310 Ritchie Highway
                                                       Glen Burnie, MD 21061
                                                       (410) 787-0826
                                                       Attorney for Defendant



                                   CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on this 5th day of April, 2023, a copy of the foregoing Entry of
Appearance was electronically filed with the Clerk of the United States District Court using
CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                   Office of the United States Attorney
                                              555 4th Street, NW
                                              Washington, DC 20001

                                                               /s/
                                                       David W. Fischer, Esq.
